             Case 6:19-bk-01945-KSJ        Doc 14     Filed 05/22/19    Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION



In re:

STEVEN HERMAN ALLEN                                                Case No. 6:19-bk-01945-KSJ
BLESSY ALLEN,                                                      Chapter 7

         Debtors
                                     /

                      REPORT AND NOTICE OF ABANDONMENT

TO:            ALL INTERESTED PARTIES
FROM:          GENE T. CHAMBERS, TRUSTEE

     PURSUANT TO SECTION 554, BANKRUPTCY CODE, F.R.B.P. 6007, 7004 AND 7005,
AND APPLICABLE LOCAL BANKRUPTCY RULES. NOTICE IS HEREBY GIVEN OF THE
ABANDONMENT OF THE FOLLOWING DESCRIBED PROPERTY:
                      Speed Power and Handling Autos, LLC



             NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

    Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
   paper without further notice or hearing unless a party in interest files an objection
   within fourteen (14) days from the date set forth on the attached proof of service, plus an
   additional three (3) days for service if any party was served by U.S. mail.

     If you object to the relief requested in this paper, you must file your objection with the
   Clerk of the Court at George C. Young Federal Courthouse, 400 W. Washington Street,
   Suite 5100, Orlando, FL 32801, and serve a copy on the trustee, Gene T. Chambers, P.O.
   Box 533987, Orlando, FL 32853, and any other appropriate persons within the time
   allowed. If you file and serve an objection within the time permitted, the Court will
   either schedule a hearing and notify you of a hearing, or consider the response and grant
   or deny the relief requested without a hearing.

     If you do not file an objection within the time permitted, the Court will consider that
   you do not oppose the relief requested in the paper, and the sale will be made on the
   terms set forth without further notice or hearing.
            Case 6:19-bk-01945-KSJ          Doc 14      Filed 05/22/19     Page 2 of 2



       THE PROPERTY IS BEING ABANDONED FOR THE FOLLOWING REASONS:

       1)      The liabilities of the business greatly exceed the value of its assets.

       2)      There is no value in the business for the benefit of the estate and it is burdensome to
               the estate.

       DATED: May 22, 2019.

                                                                /s/ Gene T. Chambers
                                                              Gene T. Chambers, Trustee
                                                              Florida Bar No. 0187642
                                                              Gene T. Chambers, P.A.
                                                              Post Office Box 533987
                                                              Orlando, Florida 32853
                                                              Telephone (407) 872-7575
                                                              Facsimile (407) 246-0008
                                                              E-mail: gchamberspa@cfl.rr.com



                                 CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of the foregoing Report and Notice Of
Abandonment was furnished vie electronic mail using the Court’s CM/ECF system on May 22, 2019
to all parties participating in CM/ECF in the instant case and via U.S. Mail, to all non-CM/ECF
parties on the attached mailing matrix.



                                                                /s/ Gene T. Chambers
                                                              Gene T. Chambers, Trustee




                                                  2
